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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA
v. Affirmation in Support of Application
TODD KOZEL, for Order of Continuance
18 Mag. 10663
Defendant. 8 Mag
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State of New York )
County of New York 18S.
Southern District of New York )

LOUIS A. PELLEGRINO, pursuant to Title 28, United States Code, Section 1746, hereby
declares under penalty of perjury:

1. [Tam an Assistant United States Attorney in the Office of Geoffrey 8. Berman, United
States Attorney for the Southern District of New York. I submit this affirmation in support of an
application for an order of continuance of the time within which an indictment or information
would otherwise have to be filed, pursuant to 18 U.S.C. § 3161(h)(7)(A).

2. The defendant was charged in a complaint dated December 14, 2018 with violations of
Title 18, United States Code, Sections 1343, 1349, and 1956(h), as well as Title 18, United States
Cade, Section 2.

3. The defendant was arrested on December 18, 2018 and presented before Magistrate
Judge Debra Freeman on the same day. The defendant was released the following day on a set of
bail conditions. The defendant is represented by David Meister, Esq.

4, Under the Speedy Trial Act, and as set by Judge Freeman during the defendant’s

presentment, the Government initially had until January 17, 2019 to charge the defendant by

 

 

 
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indictment or information. On January 17, 2019, the Honorable Sarah Netburn, United States
Magistrate Judge, entered an Order of Continuance, pursuant to 18 U.S.C. § 3161(h\(7){A),
extending the time within which an indictment or information would otherwise have had to be
filed in this case until February 18, 2019. Because February 18, 2019 was a federal holiday, the
relevant filing date was February 19, 2019. On February 19, 2019, the Honorable Ona T. Wang,
United States Magistrate Judge, entered an Order of Continuance, pursuant to 18 U.S.C.
§ 3161(h)(7)(A), extending the time within which an indictment or information would otherwise
have had to be filed in this case until March 21, 2019. On March 21, 2019, the Honorable James
L. Cott, United States Magistrate Judge, entered an Order of Continuance, pursuant to 18 US.C.
§ 3161(h)(7)(A), extending the time within which an indictment or information would otherwise
have had to be filed in this case until April 22,2019. On April 22, 2019, the Honorable Henry
B. Pitman, United States Magistrate Judge, entered an Order of Continuance, pursuant to 18 USC,
§ 3161(h)(7)(A), extending the time within which an indictment or information would otherwise
have had to be filed in this case until May 22, 2019.

5. Mr. Meister and this Office have had discussions regarding a possible disposition of
this case. The negotiations have not been completed and we plan to continue our discussions, but
do not anticipate a resolution before the deadline under the Speedy Trial Act expires on May 22,
2019.

6. Therefore, the Government is requesting a 30-day continuance until June 21, 2019, to
continue the foregoing discussions and reach a disposition of this matter. I have communicated
with Mr. Meister, who specifically consented to this request. This application has also been

approved by Andrew Dember, Deputy Chief of the Criminal Division.

 
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7. For the reasons stated above, the ends of justice served by the granting of the requested

continuance outweigh the best interests of the public and the defendant in a speedy trial.

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Louis A. Pellegrift
Assistant Unit ates Attorney
(212) 637-2617

Dated: New York, New York
May 22, 2019
